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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF ALABAMA
                                  EASTERN DIVISION


DONNA THOMAS                                      )
                                                  )
         Plaintiff,                               )
v.                                                )   CIVIL ACTION NO.:
                                                  )   CV-3:17-863-SRW
                                                  )
UNITED PARCEL SERVICE, INC.                       )
                                                  )
         Defendant.                               )
                                                  )


                                             ANSWER

        Defendant United Parcel Service, Inc. (“Defendant” or “UPS”), by and through the

undersigned counsel, answers the correspondingly numbered paragraphs of the Complaint and

Jury Demand filed by Plaintiff Donna Thomas (“Plaintiff” or “Thomas”) and asserts various

defenses, as follows:

     1. The allegations contained in Paragraph 1 of Plaintiff’s complaint are denied, except to

        admit that this Court has jurisdiction.

     2. The allegations contained in Paragraph 2 of Plaintiff’s complaint are denied, except to

        admit that Plaintiff filed a charge of discrimination against Defendant with the Equal

        Employment Opportunity Commission (“EEOC”).

     3. The allegations contained in Paragraph 3 of Plaintiff’s complaint are admitted upon

        information and belief.

     4. The allegations contained in Paragraph 4 of Plaintiff’s complaint represent legal

        conclusions and require no response from Defendant, except to admit that Defendant

        employed Plaintiff and Defendant provided parcel delivery services in Opelika, Lee

        County, Alabama.

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    5. The allegations contained in Paragraph 5 of Plaintiff’s complaint are admitted.

    6. The allegations contained in Paragraph 6 of Plaintiff’s complaint are admitted.

    7. The allegations contained in Paragraph 7 of Plaintiff’s complaint are denied.

    8. The allegations contained in Paragraph 8 of Plaintiff’s complaint are admitted.

    9. The allegations contained in Paragraph 9 of Plaintiff’s complaint are denied.

    10. UPS admits that the Full Time Package Center Supervisor position was filled in February

        2016 through the use of its hiring protocol. All other allegations in this paragraph are

        denied. .

    11. The allegations contained in Paragraph 11 of Plaintiff’s complaint are denied.

    12. The allegations contained in Paragraph 12 of Plaintiff’s complaint are denied.

    13. The allegations contained in Paragraph 13 of Plaintiff’s complaint are denied.

                                         COUNT ONE

                 TITLE VII - DISCRIMINATORY FAILURE TO PROMOTE

    14. Defendant adopts and incorporates its responses to the preceding paragraphs as if full set

        forth herein.

    15. The allegations contained in Paragraph 15 of Plaintiff’s complaint are denied.

    16. The allegations contained in Paragraph 16 of Plaintiff’s complaint are denied.

        UPS denies that Plaintiff is entitled to any relief demanded in the “WHEREFORE” clause

        following paragraph 16 of the Complaint and its subparts.

                                         COUNT TWO

                SECTION 1981 – DISCRIMINATORY FAILURE TO PROMOTE

    17. Defendant adopts and incorporates its responses to the preceding paragraphs as if full set

        forth herein.

    18. The allegations contained in Paragraph 18 of Plaintiff’s complaint are denied.

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    19. The allegations contained in Paragraph 19 of Plaintiff’s complaint are denied.

        UPS denies that Plaintiff is entitled to any relief demanded in the “WHEREFORE” clause

        following paragraph 19 of the Complaint and its subparts.

                                         COUNT THREE

                                  TITLE VII - RETALIATION

    20. Defendant adopts its responses to the preceding paragraphs as if fully set forth herein.

    21. The allegations contained in Paragraph 21 of Plaintiff’s complaint are denied.

    22. The allegations contained in Paragraph 22 of Plaintiff’s complaint are denied.

        UPS denies that Plaintiff is entitled to any relief demanded in the “WHEREFORE” clause

        following paragraph 22 of the Complaint and its subparts.

                                          COUNT FOUR

                               SECTION 1981 - RETALIATION

    23. Defendant adopts its responses to the preceding paragraphs as if fully set forth herein.

    24. The allegations contained in Paragraph 24 of Plaintiff’s complaint are denied.

    25. The allegations contained in Paragraph 25 of Plaintiff’s complaint are denied.

        UPS denies that Plaintiff is entitled to any relief demanded in the “WHEREFORE”

        clause following paragraph 25 of the Complaint and its subparts.

                                          DEFENSES

         In asserting these defenses, UPS does not assume the burden of proof as to matters that,

pursuant to law, are Plaintiff’s burden to prove.


                                            First Defense

        Plaintiff fails to state a claim upon which relief can be granted.

                                          Second Defense


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       UPS’s employment practices are job-related and consistent with business necessity.

                                             Third Defense

           Any employment actions taken by UPS were based on legitimate, non-discriminatory

factors.

                                            Fourth Defense

           UPS has and had in place a strong, officially-promulgated, and user-friendly policy

against discrimination to prevent and promptly correct any such behavior. Thus, to the extent

Plaintiff is able to prove that she was subjected to discrimination, which UPS denies, UPS cannot

be held vicariously liable because of its good-faith efforts to ensure compliance with the anti-

discrimination laws.

                                            Fifth Defense

           To the extent that Plaintiff is able to show that she suffered damages, Plaintiff failed to

mitigate those damages.

                                            Sixth Defense

           Plaintiff’s claims are barred, in whole or in part, by the equitable doctrines of unclean

hands, waiver, estoppel, and/or laches.

                                           Seventh Defense

           UPS implemented reasonable measures to prevent and correct discrimination, but

Plaintiff unreasonably failed to promptly report the conduct about which Plaintiff now

complains.

                                            Eighth Defense

           Any improper, illegal, or discriminatory acts by any of UPS’s employees or agents that

have been alleged by Plaintiff, but denied by UPS, were outside the course and scope of



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employment and were not ratified, confirmed, or approved by UPS; accordingly, such acts cannot

be attributed to UPS.
                                           Ninth Defense

        To the extent that Plaintiff has suffered any damages, any actions by UPS were neither

the actual nor proximate cause of those claimed damages.

                                           Tenth Defense

        Plaintiff’s claims are barred to the extent they involve alleged discrimination occurring

before the applicable statute of limitations period.

                                         Eleventh Defense

        UPS denies that race was a factor in any of the employment decisions at issue and further

denies that it discriminated or retaliated against Plaintiff in any manner whatsoever; however, to

the extent that the fact finder determines otherwise, UPS states that it would have made the same

decisions absent the alleged impermissible motive.

                                          Twelfth Defense

         The claims against UPS are frivolous, vexatious, and without foundation, and were

brought for the sole purpose of harassing UPS. Accordingly, UPS is entitled to recover its costs

and attorney’s fees pursuant to 28 U.S.C. § 1927 and 42 U.S.C. § 1988.

                                        Thirteenth Defense

        The Complaint must be dismissed to the extent it attempts to allege a cause of action for

compensatory or punitive damages, because the averments in the Complaint are insufficient upon

which to base such an award, and the averments with respect thereto should be stricken.
                                        Fourteenth Defense

        UPS did not engage in a discriminatory practice with malice or with reckless indifference

to Plaintiff’s federally protected rights, and therefore punitive damages cannot be awarded to
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Plaintiff.



                                        Fifteenth Defense

        Even if the Plaintiff could prove that the matters and things alleged in the Complaint

were improper factors in any employment decision she challenges, all of which UPS denies,

Plaintiff’s claim to punitive damages fails based on the principles set out by the United States

Supreme Court.

                                        Sixteenth Defense

        Plaintiff’s claims are barred to the extent she failed to exhaust her administrative

remedies.

                                       Seventeenth Defense

        Plaintiff cannot establish a causal connection between any protected activity and any

adverse employment action.

                                       Eighteenth Defense

        Plaintiff’s claims are barred to the extent she failed to file her charge of discrimination

and retaliation with the EEOC within 180 days of the alleged discriminatory actions against her.

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                              RESERVATION OF RIGHTS

        UPS reserves the right to further respond and assert any additional affirmative defenses as

they become evident through discovery, including the defense of after-acquired evidence.

        WHEREFORE, United Parcel Service, Inc. prays that Plaintiff takes nothing by this

action, that it recover its costs, and that it be granted such other and further relief as the Court

may deem appropriate.



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                                                Respectfully submitted,

                                                s/ J. Day Peake III
                                                J. DAY PEAKE III (PEAKJ9462)
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OF COUNSEL:

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                                 CERTIFICATE OF SERVICE

        I do hereby certify that I have on January 26, 2018, electronically filed the foregoing with

the Clerk of Court using the CM/ECF filing system, which will serve electronic notifications of

such filing to the following and/or that I have mailed a copy of the foregoing to the following:


        Summer Austin Wells
        P. O. Box 361256
        Birmingham, AL 35236


                                                     /S/ J. DAY PEAKE III
                                                     J. DAY PEAKE III




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